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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                                   ENTERED
                                                                                                                        08/14/2019
                                                                     §
    In re:                                                           § Chapter 11
                                                                     §
    WESTMORELAND COAL COMPANY, et al.,7                              § Case No. 18-35672 (DRJ)
                                                                     §
                                        Debtors.                     § (Jointly Administered)
                                                                     §

                  ORDER GRANTING JACKSON WALKER LLP’S
       FIRST INTERIM AND FINAL FEE APPLICATION FOR ALLOWANCE AND
    PAYMENT OF FEES AND EXPENSES AS CO-COUNSEL TO THE WMLP DEBTORS
          FOR THE PERIOD FROM MARCH 1, 2019 THROUGH JUNE 21, 2019
                            (Relates to ECF No. __) 2162

             CAME ON FOR CONSIDERATION, the First Interim and Final Fee Application for

Allowance and Payment of Fees and Expenses as Co-Counsel to the WMLP Debtors for the Period

From March 1, 2019 through June 21, 2019 (the “Application”) filed by Jackson Walker LLP,

and the Court having reviewed the Application, the matters contained therein and exhibits thereto,

and being of the opinion that the attorneys’ fees and expenses incurred should be allowed and paid

by the WMLP Debtors, it is therefore

             ORDERED, that JW is hereby allowed compensation for attorneys’ fees in the amount of

$284,146.50 and reimbursement of expenses in the amount of $3,417.70 for the Final Application

Period; it is further

             ORDERED, that the fees in the amount of $284,146.50 and expenses in the amount of

$3,417.70 requested in the Application are hereby fully and finally allowed; it is further


7     Due to the large number of debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
      noticing agent in these chapter 11 cases at www.donlinrecano.com/westmoreland. Westmoreland Coal
      Company’s service address for the purposes of these chapter 11 cases is 9540 South Maroon Circle, Suite 300,
      Englewood, Colorado 80112.



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        ORDERED, that the WMLP Debtors are authorized to pay to JW, the fees and expenses

approved herein less any fees and expenses previously paid pursuant to the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals [ECF

No. 495].

Signed:
    Signed: August 14, 2019
                                              _______________________________________
                                              ____________________________________
                                              DAVID  R. JONES
                                              DAVID R. JONES
                                              UNITED STATES BANKRUPTCY JUDGE
                                              UNITED STATES BANKRUPTCY JUDGE




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